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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


SHAMISO MASWOSWE                                         )
150 W. 225th St. Apt. 25D                                )
Bronx, NY 10463                                          )
                                                         )
Plaintiff,                                               )
                                                         )
v.                                                       )   Civil Case No. 1:21-cv-411
                                                         )
MONTY WILLIAMS                                           )
ACTING ATTORNEY GENERAL,                                 )
U.S. DEPARTMENT OF JUSTICE                               )
950 Pennsylvania Avenue NW,                              )
Washington, DC 20530                                     )
                                                         )
Defendant.                                               )
---------------------------------------------------------_

               EMPLOYMENT DISCRIMINATION COMPLAINT AND
                       DEMAND FOR JURY TRIAL

        Plaintiff Shamiso Maswoswe, by and through her undersigned counsel, hereby brings

this civil action against Monty Williams, Acting Attorney General, U.S. Department of Justice

(“DOJ” or the “Agency”) in his official capacity only, and alleges as follows:

                                       Introduction and Summary

  1.    Plaintiff Shamiso Maswoswe is a highly credentialed and accomplished attorney who

        worked as a GS-15 Trial Attorney in an elite division of DOJ. She won federal court

        trials and received praise for her skills from management and a United States District

        Court judge. She is also a Black woman who gave birth to, breastfed, and had

        caregiving responsibilities for her baby. Ms. Maswoswe’s accomplishments and

        commitment to her career were not enough to stave off a termination from her

        supervisor, who made her dislike of Ms. Maswoswe’s pregnancy, breastfeeding and

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     child caregiving responsibilities very clear. When Ms. Maswoswe complained about

     the unequal treatment she received compared to her white, male colleagues, she was

     terminated immediately thereafter, on the very same day that Ms. Maswoswe secured,

     and the Defendant celebrated, her major court victory.

2.   This Complaint challenges unlawful retaliation, sex, pregnancy, lactation, and race

     discrimination committed against Plaintiff Shamiso Maswoswe (Ms. Maswoswe) by

     her managers and supervisors at the Public Integrity Section, a sub-agency within the

     U.S. Department of Justice, from Ms. Maswoswe’s hiring in January 2016 until her

     termination in November 2017. This lawsuit seeks relief for unlawful retaliation, sex,

     pregnancy, lactation and race discrimination in violation of Title VII, 42 U.S.C. §

     2000e-1 et seq. and the Pregnancy Discrimination Act subsumed within it.

                           Venue, Jurisdiction and Exhaustion

3.   This action is brought pursuant to Title VII of the Civil Rights Act of 1964, as

     amended, 42 U.S.C. Sec. 2000e-16(c), and the Pregnancy Discrimination Act

     subsumed within it.

4.   Venue lies in this Court pursuant to 42 U.S.C. Sec. 2000e-5(f) and 28 U.S.C. Sec.

     1391(b).

5.   All statutory prerequisites for bringing this action have been timely satisfied. See Exh. 1

     (Decision from the U.S. Equal Employment Opportunity Commission (EEOC) Office of

     Federal Operations (OFO)).

                                         The Parties

6.   Plaintiff Shamiso Maswoswe is an adult resident of New York, who at the time of the

     events in this Complaint lived in Washington, D.C. and Maryland, and worked for

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      Defendant in Washington, D.C. She is a Black woman of Zimbabwean descent who

      became pregnant and gave birth to her child in November 2016, and thereafter breastfed

      her child. Ms. Maswoswe’s child was born premature and with health complications, and

      she was under doctors’ instructions to ensure that her child was fed breast milk.

 7.   Defendant, Monty Williams, Acting Attorney General, U.S. Department of Justice

      (“DOJ” or the “Agency”) in his official capacity only, is currently the head of a federal

      Agency of the United States which hired Ms. Maswoswe in January 2016 and terminated

      her in December 2017. The Public Integrity Section is an elite sub-division of DOJ

      whose mission is to oversee the federal effort to combat abuses of the public trust by

      government officials. The Section investigates and, when warranted, prosecutes,

      corruption offenses involving public officials at all levels of government.

                                Ms. Maswoswe’s Background

 8.   From January 2016 until her termination in November 2017, Ms. Maswoswe worked as a

      GS-15 Trial Attorney for the Public Integrity Section. At the beginning of her

      employment, the Public Integrity Section placed Ms. Maswoswe on a detail to the D.C.

      U.S. Attorney’s Office.

 9.   DOJ hired Ms. Maswoswe from her position as Counsel a nationally recognized big law

      firm in New York City, where she had ten years of experience in white collar criminal

      matters and complex litigation.

10.   Ms. Maswoswe holds a J.D. from New York University Law School (“NYU”), where she

      received numerous academic awards, including the Baker McKenzie Scholarship, Dean’s

      Merit Scholarship, and the Public Interest Law Scholarship.

11.   Throughout Ms. Maswoswe’s legal career, she earned multiple awards and honors



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      including the Rising Star designation by Super Lawyers in 2013-2015 and the Legal Aid

      Society’s Pro Bono Publico Award in 2012, and was recognized by the New York State

      Bar Association for her extensive public service.

12.   Ms. Maswoswe holds a Bachelor of Journalism from University of Texas at Austin,

      where she received the George Foreman Tribute to LBJ Scholarship, Headliners

      Scholarship, Frank Morrow Presidential Scholarship in Business Journalism, Jesse H.

      Jones Centennial Scholarship, and the Good Fellow Award.

13.   DOJ actively recruited Ms. Maswoswe to join the Public Integrity Section, and later paid

      for Ms. Maswoswe to take a detail to the U.S. Attorney’s Office in Washington, D.C. to

      gain additional trial practice training.

                 Policies Governing Ms. Maswoswe’s Employment at DOJ

14.   DOJ is required to follow Title VII of the Civil Rights Act of 1964 and the Pregnancy

      Discrimination Act, 42 U.S.C. § 2000e-1, et seq. These laws make it unlawful to

      discriminate against employees on the basis of their sex, race, pregnancy, and childbirth-

      related lactation, and make it unlawful to retaliate for making complaints about any of the

      above.

15.   Pursuant to 29 C.F.R. § 1614.102, as a federal agency, DOJ is required to “maintain a

      continuing affirmative program to promote equal opportunity and to identify and

      eliminate discriminatory practices and policies,” “Conduct a continuing campaign to

      eradicate every form of prejudice or discrimination from the agency's personnel policies,

      practices and working conditions,” “Review, evaluate and control managerial and

      supervisory performance in such a manner as to insure a continuing affirmative

      application and vigorous enforcement of the policy of equal opportunity, and provide



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           orientation, training and advice to managers and supervisors to assure their understanding

           and implementation of the equal employment opportunity policy and program” and

           “Take appropriate disciplinary action against employees who engage in discriminatory

           practices.”

16.        Pursuant to the U.S. Office of Personnel Management (“OPM”) Memorandum re Nursing

           Mothers in Federal Employment, dated December 22, 2010,1 Federal Agencies “should

           provide a reasonable amount of break time to express milk as frequently as needed by the

           nursing mother. The frequency of breaks to express milk as well as the duration of each

           break will likely vary, according to the needs of the individual mother.” In addition,

           pursuant to OPM, Federal Agencies “are also instructed to develop an agency policy to

           use current workforce flexibilities to provide reasonable breaks for this purpose.”

17.        Pursuant to the NO FEAR Act, 5 C.F.R. § 724 et. seq., DOJ was obligated to

           affirmatively notify and ensure all employees, including Ms. Maswoswe, that they would

           not face retaliation for raising complaints of discrimination.

18.        Pursuant to a letter issued by the Attorney General to all Criminal Division Employees at

           DOJ, “policy of maintaining a work environment that is free from any form of

           discriminatory harassment,” which DOJ defined as “any activity that creates an

           intimidating, hostile, or offensive work environment, or unreasonably interferes with an

           individual's work performance, and is related to a person's gender, age, race, color,

           religion, national origin, disability, gender identity, sexual orientation, status as a parent,

           or any other impermissible factor. Any conduct constituting discriminatory harassment

           will not be tolerated.” The Memorandum informed employees that the “Criminal



1
    Available at https://www.dol.gov/sites/dolgov/files/WHD/legacy/files/NMothersFederalEmplymnt.pdf

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       Division treats all allegations of discriminatory harassment seriously, and will conduct

       appropriate follow-up and take immediate and appropriate corrective and/or disciplinary

       action if warranted. In addition, retaliation against persons who make a good-faith report

       of harassment or participate in investigations of harassment is prohibited and will not be

       tolerated.”

                     Plaintiff’s Section Chief’s Authority and Power at DOJ

19.    DOJ appointed Annalou Tirol, as the then Acting Chief of the Public Integrity Section

       (hereinafter, “Section Chief”), and she served as Ms. Maswoswe’s second-line

       supervisor. Section Chief Tirol is a woman who at all times relevant to this Complaint did

       not have any children, and is not African American/Black.

20.    DOJ vested Plaintiff’s Section Chief significant authority over employees at the Public

       Integrity Section, including Ms. Maswoswe. The Section Chief’s authority included

       hiring; firing; promotions; conducting attorney appraisals and evaluations; determining

       which attorneys received raises, and the amount of any such raises; determining attorney

       assignments and tasks; assigning attorneys to details; approving attorney requests for

       training opportunities; managing and approving employee sick leave, maternity leave,

       and the conditions of such leave; providing attorneys with travel opportunities;

       determining which attorneys would be beneficiaries of the Public Integrity Section’s

       generous loan repayment program; granting Time-Off Awards; and determining which

       attorneys would receive a Plaque for Service and Seal from DOJ upon completion of their

       service.



      Plaintiff’s Section Chief’s Animus Towards Ms. Maswoswe Upon Learning of her
                                          Pregnancy

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21.   Ms. Maswoswe informed her Section Chief that she was pregnant in or about July 2016.

22.   Immediately thereafter, the Section Chief began to treat Ms. Maswoswe worse. The

      Section Chief would monitor Ms. Maswoswe’s bathroom breaks, and frequently demand

      that Ms. Maswoswe provide details about her pregnancy. The Section Chief did not treat

      non-pregnant employees in a similar manner.

23.   In November 2016, approximately two months before her due date, Ms. Maswoswe’s

      physician put her on medically required bed rest in the hospital, and required her to stay

      on bed rest until she gave birth.

24.   When Ms. Maswoswe informed the Agency that she would be on bedrest, the Agency

      refused to allow Ms. Maswoswe to utilize the Agency’s leave bank policies, claiming that

      Ms. Maswoswe had missed the deadline to apply for the leave bank. However, the leave

      bank exists to provide employees facing unexpected health issues with paid leave, and no

      strict application deadlines apply.

25.   Ms. Maswoswe remained on bed rest for approximately three weeks. Even though she

      was on leave, Ms. Maswoswe remained committed to her caseload and her colleagues at

      the Public Integrity Section. Ms. Maswoswe corresponded with agents on her cases and

      held conference calls, as well as answering questions from the Section Chief and her

      colleagues.

           Ms. Maswoswe’s Premature Baby and Doctor’s Order to Breastfeed

26.   Ms. Maswoswe gave birth in November 2016. Her baby was born prematurely and with

      serious health complications, and was placed into the Neonatal Intensive Care Unit

      (NICU). Ms. Maswoswe remained on maternity leave until March 1, 2017.



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27.   Ms. Maswoswe received orders from her doctor that she had to feed her baby breastmilk

      on account of her baby’s premature birth, low birth weight, and health complications.

28.   In preparing to return to work, Ms. Maswoswe made all appropriate arrangements to

      ensure that she could continue to provide her baby with breastmilk. Ms. Maswoswe

      arranged for supplies to pump breast milk at work, and to keep the pumped milk

      refrigerated and fresh until she could feed it to her baby in the evenings.

29.   Ms. Maswoswe also prepared for the fact that she would need to travel as part of her job

      as a Trial Attorney for the Public Integrity Section. Ms. Maswoswe was aware that it was

      difficult to pump enough milk to feed a baby for several days in advance, and difficult to

      ship pumped breast milk while on travel and ensure that it would be fresh upon arrival,

      and so Ms. Maswoswe made preparations to potentially bring her infant on work travel

      with her to ensure that she could provide her baby with fresh, safe breastmilk, which her

      baby’s physician had ordered.

30.   In sum, Ms. Maswoswe returned from maternity leave fully committed to taking on the

      complex work and long hours that her job required as well as to ensure that her baby’s

      medical needs would be taken care of. Ms. Maswoswe expected the Public Integrity

      Section to support her as she understood to be required by DOJ’s own policies and the

      law, and not make her choose between her career and her baby’s health.


 Plaintiff’s Section Chief’s Animus Towards Ms. Maswoswe After Ms. Maswoswe Gave
                                        Birth


31.   After returning from maternity leave, Plaintiff’s Section Chief’s treatment of Ms.

      Maswoswe worsened. While Ms. Maswoswe was committed to working as a Trial

      Attorney, her supervisor, the Section Chief exhibited a hostility towards her and

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      repeatedly questioned her ability to perform her job duties given that Ms. Maswoswe had

      a baby and needed to pump breastmilk during the day.

32.   Plaintiff’s Section Chief gave Ms. Maswoswe extra document review and menial

      assignments while attorneys who had not given birth and were not breastfeeding were

      given more substantive assignments that were commensurate with a Trial Attorney’s

      position. Document review assignments were usually given to more junior attorneys,

      and/or spread amongst multiple trial attorneys at the Public Integrity Section. Giving Ms.

      Maswoswe large document review assignments limited her ability to take on the more

      advanced legal work that was typically handled by GS-15 Trial Attorneys in the Public

      Integrity Section. The Section Chief did not assign multiple large document review

      assignments to attorneys who were not breastfeeding and/or given birth.

33.   Plaintiff’s Section Chief told other attorneys in the Public Integrity Section that Ms.

      Maswoswe required mentorship from attorneys with similar and less experience than Ms.

      Maswoswe had. The Section Chief did not suggest similar mentoring relationships for

      attorneys who had not given birth and/or who were not breastfeeding.

34.   Plaintiff’s Section Chief continued to monitor Ms. Maswoswe’s bathroom breaks and

      pumping breaks, and consistently questioned Ms. Maswoswe’s use of time and ability to

      handle work projects. Such questioning of Ms. Maswoswe’s performance was unfounded

      and humiliating as she not only met her deadlines, but also produced work product that

      was considered high quality by senior attorneys at the Public Integrity Section. The

      Section Chief did not similarly scrutinize attorneys who had not given birth and/or who

      were not breastfeeding.

35.   Plaintiff’s Section Chief made comments that Ms. Maswoswe should not travel so that



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      she could spend time with “her little one,” and would not have to spend an extended

      period of time away from home and from her baby. However, Ms. Maswoswe was eager

      to work for the Public Integrity Section and did not wish to be denied work opportunities

      simply because she had a baby and had to breastfeed.

36.   Plaintiff’s Section Chief prevented Ms. Maswoswe from participating in a full two-week

      trial in North Carolina. The Section Chief stated that she did not believe that Ms.

      Maswoswe should be travelling for two weeks when she had a baby, and thus insisted

      that Ms. Maswoswe attend the trial for only one week. Ms. Maswoswe objected to being

      taken off a substantial part of the trial, which was a valuable professional opportunity for

      her. In addition, Ms. Maswoswe feared that not being able to attend the entire trial would

      leave her colleagues in a lurch and also create the impression that she was not available

      for work assignments because she was a new mother.

37.   Ms. Maswoswe made arrangements to bring her infant to the trial in North Carolina, and

      have her mother-in-law and sister-in-law stay in the same hotel to care for her infant

      during the day while Ms. Maswoswe was attending court. This allowed Ms. Maswoswe

      to breastfeed her baby in the mornings and the evenings, and not risk that any pumped

      breastmilk would spoil on shipment back to Washington, D.C. Ms. Maswoswe made

      these arrangements at her own personal expense and with no cost to DOJ. When

      Plaintiff’s Section Chief found out about this arrangement, the Section Chief emailed

      snide comments about Ms. Maswoswe’s decision to both handle a trial and bring her

      infant: The Section Chief emailed Deputy Chief J.P. Cooney stating “Get this: Shamiso,

      husband, baby, and mother in law are all going to drive down to the trial. She’s actually

      super excited for the road trip, and she won’t be apart from the baby.” Deputy Chief



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      Cooney responded “WTF?”

38.   Ms. Maswoswe’s trial in North Carolina was successful, and she garnered praise for her

      assistance from the lead attorneys on the case. At no point did Ms. Maswoswe’s decision

      to bring her infant to North Carolina interfere with her work for the Public Integrity

      Section.

39.   Nonetheless, after the trial in North Carolina, Plaintiff’s Section Chief stated that she was

      concerned that Ms. Maswoswe “now couldn’t handle” the job anymore. Ms. Maswoswe

      understood this to be a direct reference to her child birth, breastfeeding, and caregiving

      obligations.

40.   Plaintiff’s Section Chief denied Ms. Maswoswe’s requests for training and growth

      opportunities, such as observing trials, meeting with political figures, observing witness

      interviews, and important staff meetings. Other attorneys who were not breastfeeding

      and/or had not given birth were not similarly denied such opportunities.

41.   Plaintiff’s Section Chief refused to approve Ms. Maswoswe as a recipient for the Public

      Integrity Section’s generous student loan repayment program, under which the Public

      Integrity Section pays the attorneys’ monthly student loan payment for the duration of

      employment.

                        Ms. Maswoswe’s Accomplishments for DOJ

42.   Despite Plaintiff’s Section Chief’s heavy scrutiny of her work, and denying her training

      opportunities, Ms. Maswoswe made major contributions to the Public Integrity Section

      and its mission. Some examples of Ms. Maswoswe’s high performance are included

      below.

43.   In August 2016 Ms. Maswoswe drafted an indictment which charged a drug trafficking



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      offense as bribery. The indictment was unique and was thereafter requested by United

      States Attorneys’ Office across the country for use as a model.

44.   Ms. Maswoswe’s work on the North Carolina trial was praised, including her

      contributions to the trial team during trial and the oppositions to the motions in limine

      that she drafted for the trial.

45.   Ms. Maswoswe also worked on investigating, developing, overseeing, and briefing

      numerous cases on the Public Integrity Section’s docket.

46.   Ms. Maswoswe successfully presented a case to a grand jury, and drafted a successful

      detention memorandum which was key to the case.

47.   Ms. Maswoswe represented the United States government in numerous status

      conferences in federal district courts, worked with the U.S. Federal Bureau of

      Investigations (FBI) to put together an operation, and investigated a new form of scam

      called Scam PACs.

48.   In July 2017, Ms. Maswoswe second chaired Defendant’s successful prosecution of three

      postal workers in a drug trafficking case. Ms. Maswoswe played a prominent role in the

      two week jury trial. She presented a powerful, compelling opening argument which won

      praise from both her colleagues as well as reluctant praise from Plaintiff’s Section Chief.

      Ms. Maswoswe additionally handled the direct testimony of key witnesses including an

      expert witness, a financial analyst and multiple law enforcement officers. The trial was a

      high profile one for DOJ and resulted in multiple articles including from the Washington

      Post; television news reports, and press releases from DOJ. Ms. Maswoswe appeared on

      television during the coverage of the trial.

49.   Ms. Maswoswe made successful oral arguments on a Federal Rule of Criminal Procedure



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      Rule 29 argument, which resulted in United States District Judge Tanya Chutkan denying

      the defendants’ motion.


                        Ms. Maswoswe Complains of Discrimination

50.   Ms. Maswoswe complained about discrimination in the Public Integrity Section to her

      Section Chief during Ms. Maswoswe’ August 28, 2017 annual performance review.

51.   Ms. Maswoswe came to the performance review meeting in the wake of winning a major

      jury trial in D.C. for the Public Integrity Section that garnered media coverage, and

      receiving high praise from her colleagues for her skill in trial. As such high profile

      accomplishments were noteworthy at the Public Integrity Section, Ms. Maswoswe

      expected to receive high performance marks.

52.   At the meeting, Plaintiff’s Section Chief informed Ms. Maswoswe that the Section Chief

      was giving her a rating of “Satisfactory.”

53.   Ms. Maswoswe informed her Section Chief that she thought that the rating did not reflect

      her performance. Ms. Maswoswe told the Section Chief that she believed the Satisfactory

      rating was discriminatory given Plaintiff’s Section Chief’s continuing pattern of treating

      Ms. Maswoswe worse than other employees who were not pregnant, breastfeeding or had

      given birth, as well as non-African American employees. Ms. Maswoswe specifically

      cited the example of one white, male colleague (name withheld to protect his privacy)

      whom the Section Chief had treated more preferably when he took paternity leave when

      his wife gave birth than the Section Chief had treated Ms. Maswoswe when she took

      maternity leave when Ms. Maswoswe herself gave birth.

54.   Ms. Maswoswe informed Plaintiff’s Section Chief that she intended to challenge the

      performance review because she believed it was discriminatory.

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55.   When Ms. Maswoswe stated that she intended to bring charges of discrimination, her

      Section Chief asked in a frustrated tone whether Ms. Maswoswe “really wanted” to bring

      such charges. Ms. Maswoswe understood that the Section Chief did not look kindly upon

      engaging in such protected activity, and/or did not want Ms. Maswoswe to raise such

      charges.

56.   After Ms. Maswoswe raised allegations of discrimination, Plaintiff’s Section Chief stated

      “you know Shamiso travelling is a part of this job.” Ms. Maswoswe understood that the

      Section Chief was once again stereotyping Plaintiff as unwilling or unable to do her job

      because she had an infant and/or was breastfeeding. Ms. Maswoswe reminded her

      Section Chief that she was committed to the job and the travel that it entailed, and did not

      want to be held back from professional opportunities simply because she had a baby who

      required breastfeeding.

57.   Two days later, on August 30, 2017, Ms. Maswoswe contacted Human Resources to

      officially complain about the performance review she received and the overall

      discrimination she was experiencing in the Public Integrity Section.

Plaintiff’s Section Chief’s Animus Towards Ms. Maswoswe for Taking her Baby on Work
                                  Travel with Approval

58.   On September 6, 2017, Ms. Maswoswe traveled to New Jersey along with many other

      DOJ attorneys to observe the trial of U.S. Senator Robert Menendez for training purposes

      only. The attorneys, including Ms. Maswoswe, were there solely to observe the trial, and

      were all seated in a separate viewing room in the courthouse to watch the trial via live

      streaming video. At no point were the attorneys from the Public Integrity Section who

      were not members of the trial team, including Ms. Maswoswe, going to be in the trial

      court room with the judge, jury, witnesses, and/or counsel.

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59.   In advance of the trip, Ms. Maswoswe asked her assigned mentor at the Public Integrity

      Section if she would be permitted to take her infant to the trial, given that she would be

      viewing the trial in a separate room. She received approval. In addition, Ms. Maswoswe

      consulted with another senior Trial Attorney at the Public Integrity Section, who

      confirmed that this would be appropriate. Ms. Maswoswe went through the designated

      DOJ travel authorization approval channels to get the official approval for her plane

      ticket to Newark, NJ, including for her infant, and related travel accommodations. All of

      her travel was approved by DOJ. Ms. Maswoswe’s assigned mentor had actual and/or

      apparent authority to approve Ms. Maswoswe’s requests regarding traveling with her

      infant.

60.   When Plaintiff’s Section Chief saw Ms. Maswoswe at the airport with her infant, the

      Section Chief quickly contacted Criminal Division’s Director of Human Capital Director

      and General Counsel in the Criminal Division on September 6, 2017. According to the

      Section Chief, this was the date she decided that she would terminate Ms. Maswoswe’s

      employment with the Public Integrity Section.

61.   Ms. Maswoswe observed the trial from a separate room with her baby without incident.

      Ms. Maswoswe say with her baby in the back row, and her baby slept through the trial

      and occasionally woke to nurse quietly. Neither attorneys in the separate viewing room

      nor the trial team themselves objected to Ms. Maswoswe’s sleepy baby’s presence. One

      of Ms Maswoswe’s supervisors was present in the viewing room and never objected to

      the presence of and Maswoswe’s infant. In addition, the courtroom bailiffs in the viewing

      room allowed Ms. Maswoswe and her infant to remain. In fact, an attorney on the trial

      team testified that Ms. Maswoswe’s baby’s presence caused no distraction or disruption



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      to the trial team nor did it adversely affect the performance of the trial team.

62.   Ms. Maswoswe’s presence with her baby was especially unlikely to be a cause for

      concern in the State of New Jersey, where State Law explicitly states that “a mother shall

      be entitled to breast feed her baby in any location of a place of public accommodation,

      resort or amusement wherein the mother is otherwise permitted.”

63.   At no point did Plaintiff’s Section Chief ask Ms. Maswoswe if she had obtained

      authorization to bring her infant; ask if Ms. Maswoswe could arrange for outside child

      care while the court was in session like Ms. Maswoswe had done in North Carolina;

      instruct Ms. Maswoswe that she could not bring her infant with her during work hours; or

      even give Ms. Maswoswe a warning. Instead, the Section Chief took action to terminate

      Ms. Maswoswe.

                                            Termination

64.   Less than two weeks after Plaintiff’s Section Chief gave Ms. Maswoswe a positive

      “Satisfactory” annual review, and less than one week after Ms. Maswoswe traveled to

      New Jersey to observe the Menendez trial, the Section Chief officially moved to

      terminate Ms. Maswoswe.

65.   In a letter dated September 11, 2017, Plaintiff’s Section Chief wrote a recommendation to

      not convert or extend Ms. Maswoswe’s Trial Attorney appointment. In the letter, the

      Section Chief alleged now that Ms. Maswoswe had poor performance and a “poor

      attitude.” As examples, Plaintiff’s Section Chief explicitly cited to Ms. Maswoswe

      “criticiz[ing] a colleague in an effort to demonstrate her own competence.” This was a

      reference to Ms. Maswoswe complaining about the preferential treatment the Section

      Chief showed to Ms. Maswoswe’s white male colleague when his wife gave birth. The



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       Section Chief also alleged that Ms. Maswoswe “demonstrated a lack of judgment

       regarding appropriate workplace behavior” because she brought her infant to the trial in

       New Jersey. No reference was made to whether Ms. Maswoswe obtained permission to

       bring her baby on this work travel, nor whether there was any actual disruption caused by

       the baby’s presence.

66.    On September 12, 2017, the Public Integrity Section informed Ms. Maswoswe that she

       was being terminated via a letter which stated that the decision at the recommendation of

       Plaintiff’s Section Chief and was “based on [Ms. Maswoswe’s] performance and conduct

       as an attorney with the Public Integrity Section.”

67.    The Public Integrity Section terminated Ms. Maswoswe on the same day that she

       completed a successful sentencing hearing in the aftermath of her large and highly

       publicized jury trial victory. United States District Judge Tanya Chutkan had

       complimented Ms. Maswoswe’s trial skills in open court on that same day, and Ms.

       Maswoswe and her colleagues at the Public Integrity Section were celebrating her victory

       when she received notice that she was being summoned to meet with Human Resources,

       where DOJ terminated here.

      The Public Integrity Section Intended to Keep Ms. Maswoswe at DOJ Before She
                             Complained About Discrimination

68.    The Public Integrity Section Intended to keep Ms. Maswoswe employed as a Trial

       Attorney before she complained about discrimination.

69.    Plaintiff’s Section Chief drafted Ms. Maswoswe’s written performance review prior to

       Ms. Maswoswe’s in-person performance review meeting. The Section Chief presented

       Ms. Maswoswe with the pre-written performance review at their annual performance

       review meeting held on August 28, 2017.

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70.   Plaintiff’s Section Chief gave Ms. Maswoswe a positive rating of “Satisfactory.” The

      Public Integrity Section’s own review documents define “Satisfactory” as “Consistently

      performs all major requirements satisfactorily; accomplishes all objectives; occasionally

      exceeds the expectations of the major job functions.”

71.   The performance review documents outline in detail that in order to achieve a

      “Satisfactory” rating, attorneys such as Ms. Maswoswe must produce work that is

      correct, appropriate, effective, and high quality. The review documents require that the

      employee must “consistently meet ALL” of the expectations laid out. Id. (emphasis in

      original). The Section Chief personally signed off that Ms. Maswoswe had met these high

      performance standard criteria.

72.   Ms. Maswoswe’s rating was a positive rating that was given to all of Ms. Maswoswe’s

      comparators, and “was entirely consistent with ratings received by other new attorneys in

      the section.” Plaintiff’s Section Chief testified that this rating “was consistent with other

      new attorneys in the section.”

73.   In the review, Plaintiff’s Section Chief wrote that “[w]e look forward to Shamiso

      completing that investigation and presenting an indictment in the next rating period” and

      “we look forward to her moving those [other matters assigned] towards appropriate

      resolutions in the next period.” The review concludes with Plaintiff’s Section Chief

      stating her goals for Ms. Maswoswe in the next year and that “[w]e look forward to

      Shamiso's continued professional development.” Id.

74.   In sum, the Agency’s own evaluation of Ms. Maswoswe as of August 28, 2017 shows

      that the Agency intended to retain Ms. Maswoswe and continue giving her assignments

      and professional development opportunities.



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75.   The Public Integrity Section did not terminate any other attorneys who received the same

      performance rating as Ms. Maswoswe.

76.   Ms. Maswoswe was the only attorney in the Public Integrity Section to be terminated at

      the end of her initial appointment.

77.   The Public Integrity Section has never provided an explanation of why Plaintiff’s Section

      Chief went from giving Ms. Maswoswe a positive performance review that expressed

      intent to keep Ms. Maswoswe employed to terminating Plaintiff in the span of two weeks.

                  Related Discrimination at the Public Integrity Section

78.   Upon information and belief, other women have been forced out of the Public Integrity

      Section and/or denied opportunities and promotions when they become pregnant. Women

      attorneys believe that they will not advance to senior positions if they have a family.

79.   Upon information and belief, employees at the Public Integrity Section have observed

      that a disproportionate number of people who become mothers, and then immediately

      leave because of the way they are treated by the Public Integrity Section management.

      One attorney asked management if there were any women who had kept their jobs at the

      Public Integrity Section after giving birth, and management could not provide one name.

80.   Upon information and belief, other attorneys have complained about the Public Integrity

      Section’s failure to provide them with breastfeeding and breast pumping

      accommodations, and have experienced retaliation for requesting these accommodations.

      One attorney complained about the Public Integrity Section’s practice of “hazing” new

      mothers by denying them breastfeeding accommodations, and harshly scrutinizing them.

81.   The Public Integrity Section management has made comments such as that an attorney is

      “a great prosecutor, but she’s made the decision to be a mom” in reference to an attorney



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      who left the Public Integrity Section after giving birth. The Public Integrity Section

      management has also made reference to the idea that it “makes sense” for women to

      leave after giving birth.

82.   Upon information and belief, the Public Integrity Section has a history of promoting

      white men over women and minorities. Plaintiff’s Section Chief denied the promotion of

      a Black woman (name withheld for privacy reasons) three times. Plaintiff’s Section Chief

      denied the promotion of a Hispanic woman (name withheld for privacy reasons) twice.

83.   When Ms. Maswoswe was hired, Deputy Assistant Attorney General (DAAG) Ray

      Hulser, a senior manager in the Public Integrity Section, commented that he had never

      “hired anyone like her before” and then commented that he had because they had a

      second Black female attorney.

84.   DAAG Hulser routinely made sexist comments in the workplace, such as using the

      phrase “pussy” as a slur.

                        Ongoing Retaliation and Impact of the Termination

85.   DOJ’s discriminatory termination of Ms. Maswoswe’s employment has inflicted

      enormous financial, reputational, personal and emotional harm on her.

86.   After her termination, Ms. Maswoswe diligently sought new employment, but due to her

      unceremonious termination from the Public Integrity Section, it was difficult to obtain.

      Ms. Maswoswe did not find new employment for many months. The job she ultimately

      found pays less than her job at the Public Integrity Section and does not provide the same

      benefits. Ms. Maswoswe experiences ongoing and continuous harm from Public Integrity

      Section’s decision to terminate her.

87.   Even after Ms. Maswoswe’s termination, her former Section Chief continued to retaliate



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      against her by blocking her employment with negative references. In one instance, Ms.

      Maswoswe had a successful job interview, but the interviewer insisted that no offer could

      be made until they spoke to Ms. Maswoswe’s former supervisor, her Section Chief at the

      Public Integrity Section. After the interviewer spoke to the Section Chief, Ms. Maswoswe

      received news that she would not be offered the job. Ms. Maswoswe believes that she did

      not receive the job due to a discriminatory and retaliatory negative review provided by

      the Section Chief.

                                 STATEMENT OF CLAIMS

                                      Count I: Retaliation

88.   Plaintiff incorporates by reference all prior paragraphs to this Complaint, as if fully set

      forth in this Count.

89.   Retaliation because of an employee’s complaints of discrimination is unlawful under

      Title VII, 42 U.S.C. § 2000e-1 et seq., and the Pregnancy Discrimination Act subsumed

      within it.

90.   Defendant qualifies as an employer under Title VII, and thus, Defendant has a legal

      obligation to provide Plaintiff and all employees a workplace free of unlawful

      discrimination and retaliation and to investigate and then to remedy the situation if

      discrimination occurs.

91.   On August 28, 2017, citing her lower than expected performance rating among other

      things, Plaintiff notified her Section Chief (Ms. Tirol), that she believed she was being

      discriminated against compared to her male colleagues and childless colleagues, and

      because she was a breastfeeding mother. Plaintiff informed her Section Chief on that day

      that Plaintiff intended to file a complaint of discrimination.



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92.   On August 30, 2017, Plaintiff formally contacted the Defendant’s Human Resources

      department and filed a complaint of discrimination.

93.   On September 6, 2017 (or possibly as early as August 28, 2017) the Defendant decided to

      terminate Plaintiff. On September 11, 2017, Plaintiff’s Section Chief wrote a

      memorandum recommending Plaintiff’s termination, and on September 12, 2017,

      Defendant terminated Plaintiff based on Plaintiff’s Section Chief’s recommendation.

94.   Defendant explicitly cited Plaintiff’s complaint of discrimination in the memorandum

      recommending her termination. In addition, sworn testimony from Plaintiff’s Section

      Chief to an investigator shows that the Section Chief was aware of Plaintiff’s complaints

      of discrimination and that these were part of the basis for the termination.

95.   The above cited statements by Plaintiff’s Section Chief (Ms. Tirol) constitute direct

      evidence of unlawful retaliation.

96.   Defendant has provided no legitimate, non-discriminatory reason for its sudden decision

      to terminate Plaintiff directly after she received a positive “Satisfactory” annual

      performance review.

97.   Defendant has continued to retaliate against Plaintiff by providing negative references

      which have impeded Plaintiff’s efforts to obtain new employment and comparable

      income and benefits to what she had earned during her employment for Defendant.

                 Count II: Discrimination Based On Sex/Caregiver Status

98.   Plaintiff incorporates by reference all prior paragraphs to this Complaint, as if fully set

      forth in this Count.

99.   Discrimination because of an employee’s sex and stereotyping employees based on their

      sex/caregiver status, and stereotypes about women’s ability to and/or commitment to their



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       jobs on account of having children is unlawful under Title VII, 42 U.S.C. § 2000e-1 et

       seq.

100.   Defendant qualifies as an employer under Title VII, and thus, Defendant has a legal

       obligation to provide Plaintiff and all employees a workplace free of unlawful

       discrimination and to investigate and then to remedy the situation if discrimination occurs.

101.   Plaintiff Shamiso Maswoswe is a woman and a mother who had caregiving

       responsibilities for her infant, especially because her infant was born premature, needed

       additional care and required breast milk according to doctor’s orders.

102.   Defendant treated Plaintiff worse than men who were fathers and had child caregiver

       responsibilities.

103.   Defendant treated Plaintiff worse than both men and women without child caregiving

       responsibilities.

104.   Defendant has a known history of pushing women out of the Public Integrity Section

       when they become pregnant and/or give birth. Defendant has a known history of making

       comments evidencing that Defendant does not believe motherhood and a job as an

       attorney for Defendant are compatible.

105.   Defendant stereotyped Plaintiff as unavailable for, and insufficiently committed to her

       work as a Trial Attorney in the Public Integrity Section because she was a mother with

       caregiving responsibilities. Defendant did so despite the long hours Plaintiff worked, and

       the high level of performance Plaintiff exhibited.

106.   Defendant fired Plaintiff because she publicly engaged in child caregiving activity,

       namely bringing her infant on work travel (with approval), and cited this as one of the

       reasons for terminating Plaintiff.



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107.   Defendant's citing child caregiving as a reason for an employee's termination constitutes

       direct evidence of unlawful discrimination.

               Count III: Discrimination Based on Pregnancy and Childbirth

108.   Plaintiff incorporates by reference all preceding paragraphs of this Complaint as if fully

       set forth in this Count.

109.   Discrimination because of an employee’s pregnancy and/or childbirth is unlawful under

       Title VII, 42 U.S.C. § 2000e-1 et seq., and the Pregnancy Discrimination Act subsumed

       within it.

110.   Defendant qualifies as an employer under Title VII, and thus, Defendant has a legal

       obligation to provide Plaintiff and all employees a workplace free of unlawful

       discrimination and to investigate and then to remedy the situation if discrimination occurs.

111.   Plaintiff, Shamiso Maswoswe, is a woman who was pregnant and gave birth in November

       2016, and is accordingly a member of a class of persons protected by Title VII, which

       prohibits discrimination against individuals on the basis of their pregnancy and childbirth.

112.   Defendant qualifies as an employer under Title VII, and thus, Defendant has a legal

       obligation to provide Plaintiff and all employees a workplace free of unlawful

       discrimination and to investigate and then to remedy the situation if discrimination occurs.

113.   Defendant mistreated Plaintiff upon learning of her pregnancy, denied her professional

       opportunities, and treated her as unable or unwilling to do her job because of her

       pregnancy and childbirth. Ultimately, Defendant fired Plaintiff because of her status as a

       woman who was pregnant and gave birth.

                        Count IV: Discrimination Based On Lactation




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114.   Plaintiff incorporates by reference all prior paragraphs to this Complaint, as if fully set

       forth in this Count.

115.   Discrimination because of an employee’s childbirth-related lactation is unlawful under

       Title VII, 42 U.S.C. § 2000e-1 et seq. and the Pregnancy Discrimination Act subsumed

       within it.

116.   Defendant qualifies as an employer under Title VII, and thus, Defendant has a legal

       obligation to provide Plaintiff and all employees a workplace free of unlawful

       discrimination and to investigate and then to remedy the situation if discrimination occurs.

117.   Defendant mistreated Plaintiff because she was lactating, denied her professional

       opportunities, and treated her as unable or unwilling to do her job because of her status as

       a lactating mother. Ultimately, Defendant fired Plaintiff because of her status as a

       lactating mother.

                                 Count V: Race Discrimination

118.   Plaintiff incorporates by reference all prior paragraphs to this Complaint, as if fully set

       forth in this Count.

119.   Plaintiff is a Black woman of Zimbabwean descent.

120.   Discrimination because of an employee’s race is unlawful under Title VII, 42 U.S.C. §

       2000e-1 et seq.

121.   Defendant qualifies as an employer under Title VII, and thus, Defendant has a legal

       obligation to provide Plaintiff and all employees a workplace free of unlawful

       discrimination and to investigate and then to remedy the situation if discrimination occurs.

122.   Defendant has a known history of granting preferential treatment to white men, and

       treating minorities worse.



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123.   Defendant treated Plaintiff worse on account of her race, made comments about her race,

       and ultimately terminated her because of her race. Defendant’s treatment of Plaintiff

       showed transparent bias against Plaintiff because she is a Black woman.


                                   RELIEF REQUESTED

124.   WHEREFORE, Ms. Maswoswe demands judgment against the Defendant and prays that

       the Court:

    A. A Declaratory judgment that Defendant’s conduct violated her rights;

    B. Order Ms. Maswoswe’ reinstatement to the position that she would have held absent

       the discrimination which she suffered, with full back pay and benefits;

    C. Award Ms. Maswoswe the maximum amount of non-pecuniary compensatory

       damages of $300,000;

    D. Award Ms. Maswoswe the out of pocket costs and consequential damages she

       incurred as a result of Defendant’s discrimination against her;

    E. Award Ms. Maswoswe reasonable attorney's fees and the costs of this litigation,

       including the fees and costs incurred in the EEO administrative process;

    F. Award Ms. Maswoswe such front pay and future benefits as may be appropriate;

    G. Award Ms. Maswoswe the amount of loan repayment that Defendant would have

       provided to Ms. Maswoswe absent the discrimination that she suffered;

    H. Award Ms. Maswoswe appropriate prejudgment and post-judgment interest;

    I. Award Plaintiff an addition amount to account for any taxes she may be called upon to

       pay in relation to these awards herein;

    J. Enjoin the Defendant DOJ from discriminating against, retaliating against, or


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       harassing Ms. Maswoswe in any manner;

    K. Order Defendant DOJ to develop and implement effective measures to prevent and then

       remedy discrimination and retaliation;

    L. Order Defendant DOJ to develop and implement effective measures to ensure that

       pregnant and/or breastfeeding mothers are given appropriate accommodations and are not

       discriminated against or retaliated against;

    M. Order Defendant DOJ to consider appropriate disciplinary actions against the

       management officials who engaged in discrimination and/or retaliation against Plaintiff;

    N. Posting of notices on Defendant DOJ’s premises notifying employees that Defendant

       has violated the anti-discrimination laws, and that employees who report future

       violations may not be subject to retaliation; and

    O. Award such other relief as may be necessary and proper.


                                   DEMAND FOR JURY TRIAL

125.   Plaintiff demands a jury trial as to all issues triable by a jury pursuant to Fed. R. Civ. P. 38.


Dated: February 16, 2021                             __/S/ JOSEPH D. GEBHARDT ________
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